              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT



                      KASHELL BRIANNA WATSON,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.


                             No. 2D2023-1025


                              August 23, 2024

Appeal from the Circuit Court for Manatee County; Lon Arend, Judge.

Howard L. Dimmig, II, Public Defender, and Pamela H, Izakowitz,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and William C. Shelhart,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.



NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.



Opinion subject to revision prior to official publication.
